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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

ACE PROPERTY AND CASUALTY
INSURANCE COMPANY

Plaintiff,

CIVIL ACTION FILE NO.:
1:15-CV-00949- WBH

Vv.

LIBERTY SURPLUS INSURANCE
CORPORATION; AXIS SURPLUS
INSURANCE COMPANY; FIRST
SPECIALTY INSURANCE
CORPORATION; AMERICAN
GUARANTEE & LIABILITY
COMPANY; ASLAN COMMONS, LLC;
WSE, LLC; AND STEPHEN D. WELLS,

Defendants.

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DEFENDANT LIBERTY SURPLUS INSURANCE CORPORATION’S
DESIGNATION OF EXPERT WITNESSES

TO THE HONORABLE UNITED STATES DISTRICT JUDGE:

Pursuant to Federal Rule of Civil Procedure 26(a)(2) and this Court’s
Scheduling Order, Defendant Liberty Surplus Insurance Corporation (“Liberty
Surplus”) submits its Designation of Expert Witnesses and designates the

following retained expert:

1) Bob Persons
Smith, Moore, Leatherwood, LLP

EXHIBIT

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Regions Plaza

1180 West Peachtree Street NW, Suite 2300
Atlanta, GA 30309-3482

Phone: (404) 962-1075

Mr. Persons is a retained expert regarding claims handling and bad faith. He
has been retained to testify regarding Liberty Surplus’s handling of the underlying
claim and whether its decisions with respect to settlement, including its tender of
limits and all high-low negotiations, were reasonable. Mr. Persons may also testify
as to the actions and settlement decisions of the other insurers throughout the
underlying litigation. Mr. Persons may also offer opinions as to the role of primary
and excess insurers in defending insureds and determining whether to settle cases
similar to the underlying litigation.

Mr. Persons charges $400 per hour for review of materials and testimony.
Mr. Person’s qualifications and publication list are attached as Exhibit “A”. Mr.
Persons will provide a copy of his report in accordance with the Court’s
Scheduling Order. Mr. Persons has been provided with copies of all document
production and depositions in the case, as well as the pleadings and evidence on
file. Mr. Persons may also be provided with and rely upon any further depositions
or discovery that takes places. Mr. Persons reserves his right to supplement or
amend his opinions as discovery and testimony develops in this case.

Liberty Surplus reserves the right to supplement or amend these designations
once all of the experts’ depositions have been taken and all discovery has been
completed, up to and including the time of trial and expressly reserves the right to
withdraw the designation of any expert.

Liberty Surplus reserves the right to call to testify or question any and all
other experts, parties, or representatives, including, but not limited to, those who

have been or may be designated by any other party in this lawsuit. These experts,

parties, or representatives have not specifically been retained by Liberty Surplus.
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Liberty Surplus does not concede that any person designated by another party
qualifies as an expert, nor does Liberty Surplus necessarily adopt or concede the
accuracy of their facts, opinions, or conclusions.

Liberty Surplus also reserves the right to call any undesignated rebuttal
expert witness whose testimony cannot reasonably be foreseen until the
presentation of evidence at trial.

Liberty Surplus further reserves the right to elicit expert testimony from fact
witnesses who are not retained experts but who nevertheless are capable of
providing expert testimony.

To any extent necessary, Liberty Surplus also supplements its designation of
people likely to have information that Liberty Surplus may use to support its
claims or defenses to include the above.

Respectfully submitted,
/s /Michael J. Rust
Michael J. Rust

Georgia Bar No. 621257
Nicole C. Leet

Georgia Bar No.: 133044

Attorneys for Defendant Liberty
Surplus Insurance Corporation
Case 1:15-cv-00949-SCJ Document 119-1 Filed 10/31/17 Page 4 of 13

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Gray, Rust, St. Amand, Moffett & Brieske, L.L.P.
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and

/s/ Christopher H. Avery
Christopher H. Avery

Pro Hac Vice

Attorneys for Defendant
Liberty Surplus Insurance
Corporation

Thompson Coe Cousins & Irons, LLP-Houston
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Houston, TX 77056

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
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ACE PROPERTY AND CASUALTY
INSURANCE COMPANY

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INSURANCE COMPANY; FIRST
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CORPORATION; AMERICAN
GUARANTEE & LIABILITY
COMPANY; ASLAN COMMONS, LLC;
WSE, LLC; AND STEPHEN D. WELLS,

ae ae de ae ae ae ee ee ae a a a a a a

Defendants.

 

LR 7.1(D) CERTIFICATE OF FONT COMPLIANCE
I hereby certify that the foregoing has been prepared with one of the font and
point selections approved by the Court in Local Rule 5.1(C), Northern District of

Georgia, specifically Times New Roman 14 point.

This 26" day of July.

(Signature on Next Page)

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and

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Respectfully submitted,

/s/ Michael J. Rust

Michael J. Rust

Georgia Bar No. 621257

Nicole C. Leet

Georgia Bar No.: 133044
Attorneys for Defendant Liberty
Surplus Insurance Corporation

 

/s/ Christopher H. Avery
Christopher H. Avery

Pro Hac Vice
Attorneys for Defendant Liberty
Surplus Insurance Corporation
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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

ACE PROPERTY AND CASUALTY
INSURANCE COMPANY

CIVIL ACTION FILE NO.:
Plaintiff, 1:15-CV-00949- WBH
V.

LIBERTY SURPLUS INSURANCE
CORPORATION; AXIS SURPLUS
INSURANCE COMPANY; FIRST
SPECIALTY INSURANCE
CORPORATION; AMERICAN
GUARANTEE & LIABILITY
COMPANY; ASLAN COMMONS, LLC;
WSE, LLC; AND STEPHEN D. WELLS,

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Defendants.

 

CERTIFICATE OF SERVICE
I FURTHER hereby certify that on July 26.2017, copies of the foregoing
were served electronically with the Clerk of Court using the CM/ECF system
which will automatically send email notification of such filing to the following
attorneys of record:

P. Michael Freed, Esq.
Lewis Brisbois Bisgaard & Smith, LLP

f
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Counsel for Stephen D. Wells

(Signature on Next Page)
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/s/ Michael J. Rust

Michael J. Rust

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Attorney for Defendant Liberty
Surplus Insurance Corporation

and

/s/ Christopher H. Avery
Christopher H. Avery

Pro Hac Vice
Attorneys for Defendant Liberty
Surplus Insurance Corporation
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J. Robert Persons

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Atlanta, Georgia 30309

Tel.: (404) 962-1000 Direct: (404) 962-1075 Fax: (404) 962-1262

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Domestic Litigation Experience: 1972-present including 30 years as an equity partner in
a major Atlanta (Hurt, Richardson, Garner, Todd & Cadenhead) and a Chicago based
national firm (Lord, Bissell & Brook—now Locke Lord), then Carter & Ansley (managing
partner 2005-2007 and now its succcessor Smith Moore Leatherwood LLP; panel counsel
for Crum & Forster in Georgia on AICPA insurance program (accountant liability) and for
Shand Morahan on State Bar sponsored lawyers insurance program (lawyer liability) during
the 1980s while programs were active); defense counsel for Turner Construction
Company, Skanska Building U.S.A , Beers Construction Company, Manhattan Construction
and E.R. Snell Contractor, Inc. (paving); managed professional liability and CGL claims
and cases for Underwriters at Lloyd’s, London and London Company market, 1985-2012;
Humana Military Healthcare Services (hospital liability); insurance coverage counsel for
BellSouth, Flintlock Construction Services, LLC (N.Y.), Georgia Spice Company,
Navigators Insurance Company, Rockhill Insurance Co., Oglethorpe Power Corp., C.K.S.

Packaging, Inc., NaturChem, Inc.

Bad faith Counsel or Expert Consultant : State Auto Property and Casualty Company,
Atlanta Casualty Company, First Acceptance Insurance Company of Georgia, Inc.;
Association Casualty Insurance Company (Columbia Insurance Group); AmTrust North
America, Inc., One Beacon Insurance Company, as well as for individual and commercial

policyholders.
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Teaching Experience: Adjunct Professor of (Insurance) Law, University of Georgia School

of Law, 2008-2011.

Insurance Coverage Expertise: Named to Georgia Super Lawyers [2011-2015] in field of
Insurance Coverage; Co-author, Persons/Brownlee Excess Liability (2015 ed. West
Group publisher--2 volumes); National Claims Assn Seminar Guidelines for Claim
Handling (2003), Georgia Insurance Law Institute, Liability Insurance Coverage Disputes
in Georgia, The Policyholders Perspective (2001), Liability of Insurance Agents and
Brokers (1992), Insurer Declaratory Judgment Actions (1988), Understanding the
Comprehensive General Liability Policy (1985); National Business Institute Atlanta
Seminars Bad Faith Litigation (1993); GDLA Seminar Speaker, Bad Faith Litigation in
Georgia (May 2012).

Certification in mediation/arbitration: Certified through Resolution Resources Corp. in
2004 -- mediation focus on professional liability, product liability, construction and

insurance coverage disputes. Panel Member, BAY Mediation Services (2010--2015).

Trial Experience: Admitted to all state and federal courts in Georgia and Supreme Court of
the United States with 38 years of ongoing trial and appellate experience in Georgia and pro
hac vice appearances in Tennessee, Alabama, Florida, South Carolina courts with the
following reported cases as lead counsel: First Acceptance Insurance v. Sims 2013 WL
3067570 (Ga. App. 2013); Kaminer v. Canas, 653 S.E. 2d 691 (Ga. 2007), Ryder
Integrated Logistics, Inc. v. BellSouth Telecommunications, 642 S.E.2d 695 (Ga. 2007), Old
Republic Union Ins. Co. v. Tillis Trucking Co., 124 F. 3d 1258 (11" Cir. 1997): In re Prime
Commercial Corp., 187 B. R. 785 (N.D. Ga. 1995); Sewell v. Dixie Region Sports Car Club
of America, Inc., 215 Ga. App. 611, 451 S.E. 2d 489 (1994); Sheckells v AGV- USA Corp.,
987 F.2d 1532 (11" Cir. 1993); George F. Brown & Sons, Inc. v. Knowles, 196 Ga. App.
594, 396 S.E. 2d 501 (1990); Hon-Meng Tang v. Republic Parking System, 734 F. Supp.
486 (N. Ga. 1989);Continental Casualty Co. v. Synalloy Corp., 826 F. 2d 1024 (11" Cir.
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1987); Badische Corp. v. Caylor, 257 Ga. 131, 356 S.E. 2d 1987 (1987); Dorsey Trailers
Southeast, Inc. v. Brackett, 185 Ga. App. 172, 363 S.E. 2d 779 (1987); Central Anesthesia
Associates, P.C. v. Worthy, 254 Ga. 728, 333 S.E. 2d 829 (1985); Mission Ins. Co. v.
Ryder Truck Rental, Inc., 554 F. Supp. 554 (N. D. Ga. 1982); George R. Hall, Inc. v.
Superior Trucking Co., Inc., 532 F. Supp. 985 (N. D. Ga. 1982); American Printing Finishers,
Inc. v. H. B. Fuller Co., 162 Ga. App. 175, 290 S.E. 2d 558 (1982); Doyle v. Liberty Mutual
Ins. Co., 160 Ga. App. 138, 286 S.E. 2d 475 (1981); Dairyland Ins. Co. v. Makover, 654 F.
2d 1120 (5" Cir. 1981); Kimberly v. Bankers & Shippers Ins. Co., 490 F. Supp. 93 (N.D.
Ga. 1980); Marbut v. P.P.G. Industries, Inc., 148 Ga. App., 252 S.E. 2d 628 (1979);
Johnson v. McAfee, 151 Ga. App. 774, 261 S.E. 2d 708 (1979); Tect Const. Co. v. Frymyer,
146 Ga. App. 300, 246 S. E. 2d 334 (1978); Atlanta Coca-Cola Bottling Co. v. Jones, 236
Ga. 448, 224 S.E. 2d 25 (1976); Wilson v. Dodge Trucks, Inc., 238 Ga. 636, 235 S.E. 2d
142 (1977); Lawyers Co-operative Publ. Co. v. Bekins Moving & Storage Co., 138 Ga. App.
379, 226 S.E. 2d 811 (1976); Canal Ins. Co. v. Liberty Mutual Ins. Co., 395 F. Supp. 962
(N.D. Ga. 1975); Doyal v. Ben O’Callaghan Co., 132 Ga. App. 336, 208 S.E. 2d 136
(1974).

Professional Leadership/Activities: Judicial Nominating Commission “Short List” 2010
Court of Appeals Vacancy; Master, Joseph Henry Lumpkin American Inn of Court (Elected
2007); Member, American Bar Association; State Bar of Georgia (Executive Council,
Younger Lawyers Section 1978-79, Board of Governors 1998-2012; past Co-Chair
Professional Liability insurance Comm. and Risk Mgmt Comm; State Bar Disciplinary
Review Panel Member since 2011; Foundation Fellow); Atlanta Bar Association (Board of
Directors 1988-89, 1992-93, 1996-97; Judicial Selection and Tenure Committee 1987-
90).

Education: The Westminster Schools, Atlanta, Georgia; The University of Virginia, B.A.
with Distinction (Major/Minor: American Government/Economics); University of Georgia,
J.D. (Associate Editor, Georgia Law Review; The Order of Barristers; Omicron Delta

Kappa).
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